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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:19-cv-24552-JEM




 HAPPY TAX HOLDING CORP. et al.,

         Plaintiffs,
 vs.

 JAMEY HILL et al.,

       Defendants.
 ___________________________________/

                       PLAINTIFFS’ JOINT MOTION FOR CLARIFICATION

          Plaintiffs, HAPPY TAX HOLDING CORP., HAPPY TAX FRANCHISING, LLC,

  HAPPY        TAX      BRANDS,       LLC,     MARIO    COSTANZ        and    MONICA        POIRIER

  (collectively, “Plaintiffs”), through undersigned counsel, respectfully request clarification of the

  Court’s recent Paperless Orders dated November 22, 2019 and November 25, 2019 [D.E. 32, 35].

          1.      The Court’s November 20, 2019 Continuance Order reset the Preliminary Injunction

  hearing for November 27, 2019 and continued the previously granted Temporary Restraining Order

  through such date. The subsequent rescheduling orders do not address Plaintiffs’ request for a

  Preliminary Injunction Hearing and a continuance of the Temporary Restraining Order through such

  date. Plaintiffs thereby request clarification.

          2.      On November 4, 2019, Plaintiffs filed a Verified Complaint alleging claims for,

  inter alia, Defamation Per Se (Count I) and Defamation (Count II) wherein Plaintiffs identified

  numerous false and defamatory statements believed to have originated with Defendants. [D.E. 1].
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         3.      That same day Plaintiffs filed an Expedited Motion for Temporary Restraining Order

  [D.E. 5], which the Court’s predecessor granted on November 5, 2019 (“TRO”). [D.E. 7].

  The TRO provides it “shall remain in full force and effect until fourteen (14) days after issuance of

  this Order and may be extended by this Court for good cause[,]” and set the preliminary injunction

  hearing for November 14, 2019. [D.E. 7 at 2].

         4.      Following the TRO, on November 7, 2019 undersigned Jeffrey M. Berman sent a

  copy of the Order and other related documents to alltrue@tuta.io, the email account from which

  certain of the false and defamatory emails originated. See [D.E. 25 at 6].

         5.       On November 9, 2019, after the named Defendants had filed their submissions

  denying owning the subject emails accounts or publishing the anonymous false and defamatory

  emails, the owner of such account sent an anonymous, responding email to Mr. Berman. [Id.].

  True and accurate copies of Mr. Berman’s email and the anonymous responding email are attached

  hereto as Exhibit “A.” In pertinent part, the anonymous owner of the account stated:

         “You haven’t filed anything against us. You have filed lawsuits against the wrong
         people. But who cares right?”

         6.      The publisher(s) of the anonymous false and defamatory emails and owner of the

  email accounts from which such statement originated is aware of this suit. Moreover, the sender of

  the above email continues to claim that the anonymous emails are from a group of people – “us.”

  The false and defamatory email of October 29, 2019 states: “We know that contacting you

  anonymously does not look good but Mario is sue-happy [sic] and is already sueing [sic] some

  of us with completely fabricated storylines.”         [D.E. 1 at Exhibit “9”] (emphasis added).

  Yet, the only persons and entities that Happy Tax Franchising had sued were Defendants,

  Jamey Hill and The J.L. Hill Group, and another against Defendants, Johnnie Jemel Mainer-Smith

  and Bottom Line Tax Service LLC. Therefore, those named Defendants would be included in the

  “us” who published the false and defamatory emails. [D.E. 25 at 6].
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          7.      This is important because any argument by the named Defendants that they did not

  send the emails does not mean that the Temporary Restraining Order should be dissolved and/or that

  a Preliminary Injunction Hearing is not necessary. As the communications above indicate, after

  being apprised of the Temporary Restraining Order, the operator of the accounts from which the

  false and defamatory emails originated, continued to send emails and communicated anonymously

  with Plaintiffs’ counsel.

          8.      On November 13, 2019, the Court’s predecessor entered an Order resetting the

  preliminary injunction hearing for November 20, 2019. [D.E. 16].

          9.      On November 19, 2019, the Court’s predecessor entered two separate Orders

  cancelling the November 20th hearing, and resetting the preliminary injunction hearing for

  November 21, 2019.

          10.     Shortly thereafter, Plaintiffs filed a Motion for Brief Continuance of Preliminary

  Injunction Hearing and Motion to Extend Temporary Restraining Order which requested the

  preliminary injunction hearing be reset for either November 25th or 26th, and the TRO be extended

  until the preliminary injunction hearing occurs (“Plaintiffs’ Motion”). [D.E. 19].

          11.     The Court’s predecessor agreed and on November 20, 2019 granted Plaintiffs’

  Motion stating as follows:

          The Court finds good cause exists to continue the preliminary injunction hearing
          previously set for November 21, 2019, as well as an extension of the TRO.
          Because Defendants assert that they are not in fact performing any of the acts they
          are enjoined from, the Court finds they will not be unduly burdened by such an
          extension. See ECF No. 22 at paragraph 5. Preliminary Injunction Hearing reset
          for 11/27/2019 01:30 PM in Miami Division before Judge Jose E. Martinez.

  [D.E. 26] (“Continuance Order”).




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          12.        A short time later, Defendants (save for Chad Greene) filed a Motion to Continue the

  November 27th Hearing (“Defendants’ Motion”). [D.E. 28]. Notably, while Defendants’ Motion

  sought to reschedule the November 27th preliminary injunction hearing, it did not reference the TRO

  or the fact the Continuance Order had extended it until the preliminary injunction hearing occurred.

          13.        On November 22, 2019, the Court’s predecessor entered an Order granting

  Defendants’ Motion and continuing the preliminary injunction hearing to December 3, 2019

  (“November 22nd Order”).           [D.E. 32]. The November 22nd Order, however, was silent as to

  whether the TRO would remain in effect until the December 3rd hearing.

          14.        After this matter was transferred to this Court, on November 25, 2019 this Court

  entered an Order setting a non-evidentiary status conference for December 3, 2019

  (“November 25th Order”). [D.E. 35]. Again, however, the November 25th Order did not address

  the continuance of the TRO or the Preliminary Injunction hearing that has been postponed now

  three (3) times.

          15.        The rulings in the Continuance Order provide good cause for clarifying the effect of

  the November 22nd and November 25th Orders concerning the status of the TRO and when the

  Preliminary Injunction hearing will take place.

          16.        While the Continuance Order extended the TRO to remain in effect until the

  November 27th preliminary injunction hearing, the November 22nd Order reset that hearing for

  December 3rd without addressing whether the TRO would remain in effect until the new hearing

  date. The November 25th Order then changed the December 3rd hearing from a preliminary

  injunction hearing to a status conference, again without addressing the status of the TRO or the date

  for the Preliminary Injunction Hearing.




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         17.     As a result, it is unclear whether the TRO will remain in effect until the December

  3rd hearing and whether the status conference set for December 3rd will include a Preliminary

  Injunction Hearing. It would unfairly prejudice Plaintiffs if the Temporary Restraining Order

  expired because an extension was granted to accommodate Defendants’ travel plans.

         18.     Accordingly, to alleviate any ambiguity concerning the status of the TRO and the

  Preliminary Injunction Hearing, Plaintiffs respectfully request clarification regarding the status of

  the TRO, which Plaintiffs submit should remain in effect until a Preliminary Injunction hearing takes

  place for the reasons in the Continuance Order.

         19.     This Motion is brought in good faith and not for any dilatory purpose, and no party

  will be prejudiced by the relief sought herein. As demonstrated by the Continuance Order,

  Defendants will not suffer any harm from being enjoined from defaming and harming Plaintiffs

  until the December 3rd hearing. In contrast, Plaintiffs would be prejudiced by having the TRO

  expire before they had a chance to proceed with the Preliminary Injunction hearing that was

  unilaterally reset multiple times through no fault of Plaintiffs.

         WHEREFORE, Plaintiffs respectfully request the Court enter an Order, in the form attached

  as Exhibit “1,” granting the instant Motion and entering such other and further relief as this Court

  deems just and proper.

                      S.D. FLA. LOCAL RULE 7.1(a)(3) CERTIFICATION

         Prior to filing the instant Motion, on November 26, 2019 the undersigned conferred by email

  with Defendants’ respective counsel and Chad Greene (though his proposed counsel) in a good faith

  effort to resolve the issues raised herein. Chad Greene has yet to respond as of the filing of this

  Motion, while all other Defendants object to the relief requested herein.




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                                                 Respectfully submitted,

                                                 Kerry A. Brennan, Esq.
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                                                 kerry.brennan@brennanlawpllc.com
                                                 Admitted Pro Hac Vice [D.E. 10]

                                                 -and-

                                                 JEFFREY M. BERMAN, P.A.
                                                 1722 Sheridan Street No. 225
                                                 Hollywood, Florida 33020
                                                 Tel 305.834.4150
                                                 Fax 305.832.0145

                                               By:
                                                         JEFFREY M. BERMAN
                                                         Fla. Bar No. 14979
                                                         jeff@jmbermanlaw.com



                                   CERTIFICATE OF SERVICE

         I CERTIFY that on November 26, 2019 the foregoing was served: (i) through CM/ECF to

  all those authorized to receive such electronic notices; and (ii) by mail to Chad Greene, Pro se, 6410

  Shallowford Road, Lewisville, North Carolina 27023.


                                                 By:_____________________ ______________
                                                         Jeffrey M. Berman




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          Exhibit “A”
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Jeffrey M. Berman

From:                             alltrue@tuta.io
Sent:                             Saturday, November 9, 2019 8:10 AM
To:                               Jeffrey M. Berman
Subject:                          Re: Happy Tax Franchising v. J L Hill Group et al.--Case No. 19-24552--SERVICE OF
                                  COURT DOCUMENT


You haven't filed anything against us. You have filed lawsuits against the wrong people. But who cares right? Certainly
not Mario Costanz. It won't stop him from attacking and trying to destroy the lives of the innocent, hardworking
individuals he has wronged. It serves his purpose to point fingers at those individuals. The truth will come out and it
won't favor Mario Costanz or Happy Tax.

You can be sure that we will continue to shine light on the actions of Mario Costanz in every legal way
possible. Everything we've alleged is true and will be proven and common knowledge before long.

Some already is.

What do they say?

"The truth is the ultimate defense"?




Nov 7, 2019, 14:13 by jeff@jmbermanlaw.com:

PLEASE BE ADVISED A LAWSUIT HAS BEEN FILED AGAINST YOU FOR YOUR
CONTINUED DEFAMATION. PLEASE SEE THE ATTACHED DOCUMENTS,
WHICH INCLUDES A TEMPORARY RESTRAINING ORDER ISSUED BY THE
COURT THIS WEEK.



PLEASE GOVERN YOURSELF ACCORDINGLY.




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